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Recipients of Notice of Electronic Filing:
aty         Andrew I. Silfen         andrew.silfen@arentfox.com
aty         Benjamin Mintz          benjamin.mintz@arnoldporter.com
aty         Daniel I. Forman         dforman@willkie.com
aty         David A. Rosenzweig             david.rosenzweig@nortonrosefulbright.com
aty         David J. Richardson          drichardson@bakerlaw.com
aty         Elizabeth A. Green          egreen@bakerlaw.com
aty         Eric R. Goodman           egoodman@bakerlaw.com
aty         Gregory A. Bray          gbray@milbank.com
aty         Matthew Jordan Troy            matthew.troy@usdoj.gov
aty         Matthew W. Grimshaw              matt@grimshawlawgroup.com
aty         Michael B. Lubic          michael.lubic@klgates.com
aty         Michael S. Neumeister            MNeumeister@gibsondunn.com
aty         Paul J. Pascuzzi        ppascuzzi@ffwplaw.com
aty         Rebecca J. Winthrop           rebecca.winthrop@nortonrosefulbright.com
aty         Richard A. Marshack            rmarshack@marshackhays.com
aty         Timothy S. Laffredi          timothy.s.laffredi@usdoj.gov
                                                                                                                        TOTAL: 16

Recipients submitted to the Claims Agent (Prime Clerk):
aty         Frank Pitre       Cochett, Pitre & McCarthy, LLP          San Francisco Airport Office Center          840 Malcolm Rd.,
            Suite 200       Burlingame, CA 94010
aty         Michael A. Kelly        Walkup, Melodia, Kelly and Schoenberger            650 California St. 26th Fl.       San
            Francisco, CA 94108
aty         Robert J. Labate       Holland & Knight LLP           50 California St., #2800       San Francisco, CA 94111
aty         Stephen Karotkin        Weil, Gotshal & Manges LLP            767 Fifth Avenue         New York, NY 10153
            ANDREW BEHLMANN, ESQ.                  Lowenstein Sandler LLP            One Lowenstein Drive          Roseland, NJ
            07068
            BRUCE BENNETT, ESQ.               Jones Day         555 South Flower Street 50th Floor         Los Angeles, CA 90071
            MICHELLE L. LANDRY, ESQ.                Vedder Price, LLP         275 Battery Street Suite 2464         San Francisco,
            CA 94111
            JASON MCDONELL, ESQ.                Jones Day         555 California Street 26th Floor       San Francisco, CA 94104
            ALAN W. KORNBERG, ESQ.                Paul, Weiss, Rifkind, Wharton & Garrison           1285 Avenue of the
            Americas        New York, NY 10019
            MATTHEW W. GRIMSHAW, ESQ.                    Grimshaw Law Group, P.C.           130 Newport Center Drive Suite
            140        Newport Beach, CA 92660
            JONATHAN A. SHAPIRO, ESQ.                Baker Botts LLP         101 California Street Suite 3600         San Francisco,
            CA 94111
            NICHOLAS A. CARLIN, ESQ.               Phillips, Erlewine, Given & Carlin LLP          39 Mesa Street Suite
            201        San Francisco, CA 94129
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